JS 44 (Rev. 04/21)                   Case 5:22-cv-03081-JFL
                                                       CIVILDocument
                                                             COVER1SHEET
                                                                     Filed 08/04/22 Page 1 of 12
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          VIRGINIA BORHI                                                                                   TSAROUHIS LAW GROUP
    (b)   County of Residence of First Listed Plaintiff            CARBON                                  County of Residence of First Listed Defendant              LEHIGH
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          Sidney L. Gold, Esquire - Sidney L. Gold & Assoc., P.C.
          1835 Market St., Ste. 515, Phila, PA 19103 215-569-1999
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4   ✖ 4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
    152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
         Student Loans                 340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖ 442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                  Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         ADA, PHRA
VI. CAUSE OF ACTION                      Brief description of cause:

VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                               150,000 IN EXCESS                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
08/04/2022                                                             /S/ SIDNEY L. GOLD, ESQUIRE
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 2 of 12
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                              Case 5:22-cv-03081-JFL
                                                UNITEDDocument  1 Filed
                                                      STATES DISTRICT    08/04/22 Page 3 of 12
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                         700 Red Hill Road, Lehighton, Pennsylvania 18235
Address of Plaintiff: ______________________________________________________________________________________________
                                       21 South 9th Street, Allentown, Pennsylvania 18102
Address of Defendant: ____________________________________________________________________________________________
                                                     21 South 9th Street, Allentown, Pennsylvania 18102
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      08/04/2022
DATE: __________________________________
                                                                          /s/ Sidney L. Gold, Esq.
                                                             __________________________________________                                     21374
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

     SIDNEY L. GOLD, ESQUIRE counsel of record or pro se plaintiff, do hereby certify:
I, ____________________________________________,

      ✔       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔        Relief other than monetary damages is sought.


      08/04/2022
DATE: __________________________________
                                                                                /s/ Sidney L. Gold, Esq.
                                                             __________________________________________                                     21374
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
              Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 4 of 12
                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM
    VIRGINIA BORHI                                :                          CIVIL ACTION
                                                  :
                v.                                :
    TSAROUHIS LAW GROUP                           :
                                                  :                          NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( )
                                                                                                      ✔




08/04/2022                         /s/ Sidney L. Gold, Esq.        PLAINTIFF
Date                                Attorney-at-law                    Attorney for
(215) 569-1999                  (215) 569-3870                        sgold@discrimlaw.net

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
           Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 5 of 12

                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.
    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.
     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)

     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
            Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 6 of 12




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VIRGINIA BORHI,                               :
                                              :
                         Plaintiff,           :
                                              :
               v.                             :       CIVIL ACTION NO.__________
                                              :
TSAROUHIS LAW GROUP,                          :
                                              :
                         Defendant.           :

                               COMPLAINT AND JURY DEMAND

I.     PRELIMINARY STATEMENT:

       1.      This is an action for an award of damages, declaratory and injunctive relief,

attorneys’ fees and other relief on behalf of the Plaintiff, Virginia Borhi (“Plaintiff Borhi”), a

former employee of the Defendant, Tsarouhis Law Group (“Defendant”), who has been harmed

by the Defendant’s unlawful employment practices.

       2.      This action arises under the Americans with Disabilities Act, 42 U.S.C. §12101,

et seq. (“ADA”) and the Pennsylvania Human Relations Act (“PHRA”), 43 P.S. §951 et seq.

II.    JURISDICTION AND VENUE:

       3.      The jurisdiction of this Court is invoked, and venue is proper in this judicial

district, pursuant to 28 U.S.C. §§1331 and 1391, as Plaintiff Borhi’s claims are substantively

based on the ADA.

       4.           The supplemental jurisdiction of this Court is invoked pursuant to 28 U.S.C.

§1367 to consider Plaintiff Borhi’s claims arising under the PHRA.

       5.      All conditions precedent to the institution of this suit have been fulfilled and

Plaintiff Borhi has satisfied all jurisdictional prerequisites to the maintenance of this action. On




                                                  1
            Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 7 of 12




May 9, 2022, a Notice of Right to Sue was issued by the Equal Employment Opportunity

Commission and this action has been filed within ninety (90) days of receipt of said notice.

III.   PARTIES:

       6.      Plaintiff, Virginia Borhi (“Plaintiff Borhi”), is an adult individual and citizen of

the Commonwealth of Pennsylvania, residing therein at 700 Red Hill Road, Lehighton,

Pennsylvania 18235.

       7.      Defendant, Tsarouhis Law Group (“Defendant”), is a law firm duly organized and

existing under the laws of the Commonwealth of Pennsylvania, maintaining a place of business

located therein at 21 South 9th Street, Allentown, Pennsylvania 18102.

       8.      At all times relevant hereto, the Defendant was acting through its agents, servants,

and employees, who were acting within the scope of their authority, course of their employment,

and under the direct control of the Defendant.

IV.    STATEMENT OF CLAIMS:

       9.      Plaintiff Borhi was employed by the Defendant from on or about October 13,

2020 until on or about October 21, 2020, the date of her unlawful termination.

       10.     During the course of her employment with Defendant, Plaintiff Borhi held the

position of Legal Assistant.

       11.     By way of background, in or about 2009, Plaintiff Borhi was diagnosed with

General Anxiety Disorder and Depression. Said medical conditions constitute disabilities under

the Americans with Disabilities Act (“ADA”) and the Pennsylvania Human Relations Act

(“PHRA”) in that they substantially impair one or more of Plaintiff Borhi’s major life activities,

including, but not limited to, concentrating, interacting with others, and normal neurological

function.



                                                 2
          Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 8 of 12




       12.     On or about October 13, 2020, Plaintiff Borhi’s first day of work, Plaintiff Borhi

disclosed her disabilities to Demetrios Tsarouhis (“Tsarouhis”), Attorney/President. Plaintiff

Borhi explained to Tsarouhis that her disabilities caused her to occasionally feel overwhelmed,

and, as such, Plaintiff Borhi requested sufficient time to train in her new position as a reasonable

accommodation for her disabilities.

       13.     However, on or about October 19, 2020, less than a week after she began her

employment, Tsarouhis accosted Plaintiff Borhi in her shared office and in an aggressive tone

stated, “You need to learn the job quicker, this is a fast-paced environment.” Tsarouhis further

questioned Plaintiff Borhi “How long is it going to take you to learn?” Tsarouhis’ conduct

caused Plaintiff Borhi extreme embarrassment, as his criticism occurred in the presence of her

colleagues.

       14.     Thereafter, on or about October 21, 2020, Tsarouhis entered a common area of the

office and loudly demanded to know who had filed reinstatements. When Plaintiff Borhi replied

that she had been working on them, Tsarouhis remarked that they were incorrect and needed to

be redone, thereby subjecting Plaintiff Borhi to further humiliation in front of her colleagues.

       15.     Nonetheless, Plaintiff Borhi proceeded to Tsarouhis’ office to seek assistance in

correcting the reinstatements. However, Tsarouhis continued to speak to Plaintiff Borhi in a

hostile manner and prohibited Plaintiff Borhi from viewing his computer monitor, thereby

preventing her from learning how to properly file the documents. When Plaintiff Borhi explained

that she did not understand what he was doing, Tsarouhis angrily threw his hands in the air and

criticized Plaintiff Borhi loudly enough that her colleagues could hear him through the door.

       16.     As Tsarouhis’ conduct caused Plaintiff Borhi to suffer exacerbated symptoms of

anxiety in connection with her disability, Plaintiff Borhi informed Tsarouhis that she did not feel



                                                 3
           Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 9 of 12




well and requested to take off the remainder of the day as a reasonable accommodation for her

disability. In response, Tsarouhis accused Plaintiff Borhi of being unwilling to learn and said, “if

you go home, then stay there,” thereby terminating her employment with Defendant.

        17.     Plaintiff Borhi believes and avers that the Defendant terminated her employment

based on her actual and/or perceived disabilities and/or record of impairment (General Anxiety

Disorder, Depression) and in retaliation for requesting reasonable accommodations for her

disabilities.

                                          COUNT I
                         (ADA –Disability Discrimination, Retaliation)
                               Plaintiff Borhi v. the Defendant

        18.     Plaintiff Borhi incorporates by reference paragraphs 1 through 17 of this

Complaint as though fully set forth at length herein.

        19.     The actions of the Defendant, through its agents, servants and employees, in

subjecting Plaintiff Borhi to discrimination based on her actual and/or perceived disabilities

and/or record of impairment, failing to accommodate her, and retaliating against her for

requesting a reasonable accommodation for her disabilities, constituted violations of the ADA.

        20.     As a direct result of the aforesaid unlawful discriminatory and retaliatory

employment practices engaged in by the Defendant in violation of the ADA, Plaintiff Borhi

sustained permanent and irreparable harm, resulting in her termination from employment, which

caused her to sustain a loss of earnings, plus the value of certain benefits, plus loss of future

earning power, plus back pay, and front pay and interest due thereon.

        21.     As a further direct result of the aforesaid unlawful discriminatory and retaliatory

employment practices engaged in by the Defendant in violation of the ADA, Plaintiff Borhi

suffered severe emotional distress, embarrassment, humiliation, and loss of self-esteem.



                                                 4
         Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 10 of 12




                                        COUNT II
                       (PHRA –Disability Discrimination, Retaliation)
                             Plaintiff Borhi v. the Defendant

       22.     Plaintiff Borhi incorporates by reference paragraphs 1 through 21 of this

Complaint as though fully set forth at length herein.

       23.     The actions of the Defendant, through its agents, servants and employees, in

subjecting Plaintiff Borhi to discrimination based on her actual and/or perceived disabilities

and/or record of impairment, failing to accommodate her, and retaliating against her for

requesting a reasonable accommodation for her disabilities, constituted violations of the PHRA.

       24.     As a direct result of the aforesaid unlawful discriminatory and retaliatory

employment practices engaged in by the Defendant in violation of the PHRA, Plaintiff Borhi

sustained permanent and irreparable harm, resulting in her termination from employment, which

caused her to sustain a loss of earnings, plus the value of certain benefits, plus loss of future

earning power, plus back pay, and front pay and interest due thereon.

       25.     As a further direct result of the aforesaid unlawful discriminatory and retaliatory

employment practices engaged in by the Defendant in violation of the PHRA, Plaintiff Borhi

suffered severe emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                    PRAYER FOR RELIEF

       26.     Plaintiff Borhi incorporates by reference paragraphs 1 through 25 of this

Complaint as though fully set forth at length herein.

       WHEREFORE, Plaintiff Borhi requests that this Court enter judgment in her favor and

against the Defendant, and order that:




                                                 5
            Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 11 of 12




       a.       Defendant compensate Plaintiff Borhi with a rate of pay and other benefits and

emoluments of employment to which she would have been entitled had she not been subjected to

unlawful discrimination and retaliation;

       b.       Defendant compensate Plaintiff Borhi with an award of front pay, if appropriate;

       c.       Defendant pay to Plaintiff Borhi punitive damages, compensatory damages for

future pecuniary losses, pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,

and other nonpecuniary losses as allowable;

       d.       Defendant pay to Plaintiff Borhi pre and post judgment interest, costs of suit and

attorney and expert witness fees as allowed by law;

       e.       The Court award such other relief as is deemed just and proper.

                                        JURY DEMAND

       Plaintiff Borhi demands trial by jury.


                                                SIDNEY L. GOLD & ASSOC., P.C.

                                      By:         /s/ Sidney L. Gold, Esquire
                                                SIDNEY L. GOLD, ESQUIRE
                                                I.D. No.: 21374
                                                1835 Market Street, Suite 515
                                                Philadelphia, PA 19103
                                                (215) 569-1999
                                                Attorney for Plaintiff

DATE: August 4, 2022




                                                  6
Case 5:22-cv-03081-JFL Document 1 Filed 08/04/22 Page 12 of 12
